      Case 1:23-cv-00142-BLW Document 139-2 Filed 05/12/23 Page 1 of 3




RAUL R. LABRADOR
ATTORNEY GENERAL

LrNcor.N Davrs Wrr,soN, ISB #11860
Chief of Civil and Constitutional Defense

BnuN V. CsuncH, ISB #9391
Tllvloruy J. LoNcprELD, ISB #7220I
Deputy Attorneys General
Office of the Attorney General
P. O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
lincoln.wilson@ae.idaho. eov
brian.church@a g.idaho. eov
timothy. Ion g{ield@ae.idaho. eov
Attorneys for Defendant Raitl Labrador


                       UNITED STATE DISTRICT COURT
                            DISTRICT OF IDAHO

 PIANNED PARENTHOOD GREAT NORTH-
 WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
 TUCKY, on behalf of itself, its staff, physi-
 cians and patients, CAITLIN GUSTAFSON,          DECLARATION OF
 M.D., on behalf of herself and her patients,    S. DOUGLAS WOOD
 and DARIN L. WEYHRICH, M.D., on behalf
 of himself and his patients,
                Plaintiffs,

 v.
 RAUL LABRADOR, in his capacity as the At-
 torney General of the State of Idaho; MEM-
 BERS OF THE IDAHO STATE BOARD OF
 MEDICINE and IDAHO STATE BOARD OF
 NURSING, in their official capacities,
 COUNTY PROSECUTING ATTORNEYS, iN
 their official capacities,
                Defendants.
         Case 1:23-cv-00142-BLW Document 139-2 Filed 05/12/23 Page 2 of 3




        I, S. Douglas Wood, hereby declare and state as follows:

         1.    I am the prosecuting attorney for Caribou County, Idaho, and am named

  as a Defendant in this action.

        2.     The Idaho Attorney General's Office never sent me a copy of the Attor-

  ney General's March   27   , 2023letter to Representative Brent Crane (the "Crane Let-

 ter"), and I have never read the letter.

         3.    I received that letter only in connection with this litigation, but have not

 read the letter.

        4.     I did not, and do not, regard the Crane Letter as any type ofguidance or

 directive to me or to my office from the Office of the Attorney General.

        5.     My office has taken no position regarding the scope of enforcement un-

  der Idaho Code S 18-622.

        6.     My prosecutorial decisions are based on my own independent legal duty,

 interpretation of the law, and discretion.

        7.     This is true no less with respect to any prosecution under Idaho Code

  s 18-622.

        8.     The Attorney General has no supervisory authority over my work as a

 prosecutor or the power to direct me to initiate any prosecution without my consent.

        9.     I am aware     of no prosecution, or threat of prosecution, brought by any-

 one in my office against Plaintiffs under Idaho Code S 18-622.

        10.    Caribou County is a small, rural area, and I do not believe the Plaintiffs

 in this action have facilities in my county.


S. Douglas Wood Declaration – 2
Case 1:23-cv-00142-BLW Document 139-2 Filed 05/12/23 Page 3 of 3




I declare under penalty   of perjury that the foregoing is true and correct

Dated: May 11, 2023

                                           3DouSJWood
                                             t
                                         S.




    S. Douglas Wood Declaration – 3
